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                             UNITED STATES DISTRICT COURT
                              DISTRICT OF MASSACHUSETTS

 BERNARD WAITHAKA; on behalf of                :
 himself and all others similarly situated,    :
                                               :    CIVIL ACTION NO.:
 Plaintiff,                                    :
                                               :
 v.                                            :
                                               :
 AMAZON.COM, INC., AMAZON                      :
 LOGISTICS, INC.,                              :
                                               :
 Defendant.                                    :

                                    NOTICE OF REMOVAL

        PLEASE TAKE NOTICE that, pursuant to 28 U.S.C. §§ 1332, 1441, 1446 and 1453,

Defendants Amazon.com, Inc. and Amazon Logistics, Inc. (together, “Amazon” or “Defendants”)

hereby remove this action from the Superior Court of the Commonwealth of Massachusetts,

Worcester County, to the United States District Court for the District of Massachusetts. This Court

has original subject matter jurisdiction over the lawsuit of plaintiff Bernard Waithaka (“Plaintiff”)

under the Class Action Fairness Act of 2005 (“CAFA”) because this matter was brought as a class

action, diversity of citizenship exists between one or more members of the putative class and

Amazon, the number of proposed class members exceeds 100 individuals, and the amount in

controversy exceeds $5 million in the aggregate.

I.      PRELIMINARY STATEMENT

        1.     On or about August 28, 2017, Plaintiff Bernard Waithaka (“Plaintiff”) commenced

this action against Defendants by filing a Complaint in the Worcester County Superior Court for

the Commonwealth of Massachusetts, captioned Bernard Waithaka, on behalf of himself and all

others similarly situated v. Amazon.com, Inc. and Amazon Logistics, Inc., No. 1785-CV-01403D.

A true and correct copy of the Complaint (“Compl.”) together with all process filed with the
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Worcester Superior Court in the state court action is attached as Exhibit A.

       2.      Plaintiff’s Complaint does not allege the amount of alleged damages sought on

behalf of Plaintiff or the putative class. Notwithstanding Plaintiff’s attempt to avoid this Court’s

jurisdiction, Amazon timely removed this action to this Court on October 29, 2017, pursuant to

CAFA and traditional diversity jurisdiction, 18 U.S.C. § 1332(a). See Waithaka v. Amazon.com,

et al., No. 4:17-cv-40141 (D. Mass. Nov. 15, 2017) (“Waithaka”), Dkt. No. 1. On August 28,

2018, the Court remanded this case after declining to adopt the common fund method for

determining the amount in controversy attributable to the statutory attorneys’ fees sought in the

Complaint. See id., Dkt. No. 29. As described below, the amount in controversy under CAFA

is now met without taking any attorneys’ fees into account, and therefore the lone jurisdictional

hurdle identified by the Court no longer applies.

       3.      Since Amazon filed its initial Notice of Removal over 10 months ago, the facts and

circumstances supporting the Court’s jurisdiction over Plaintiff’s Complaint have changed

significantly, giving Amazon new grounds for removal. Specifically, the number of independent

contractors who have provided delivery services through the Amazon Flex program in

Massachusetts increased more than threefold between October 2017 and the present.               See

Declaration of Peter Nickerson (“Nickerson Decl.”), ¶¶ 7-8. As the size of the putative class has

swelled, so too has each category of damages alleged in the Complaint. Consequently, as of the

date of this Notice, the amount in controversy is over $19,110,00 million, exclusive of

attorneys’ fees.

       4.      Under well-settled First Circuit law, Amazon is entitled to remove this action based

on the new grounds and information described herein. See, e.g., Romulus v. CVS Pharmacy, Inc.,

770 F.3d 67, 72-74 (1st Cir. 2014) (reversing district court’s order remanding second notice of




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removal after holding that new developments concerning alleged class-wide damages provided

grounds for jurisdiction under CAFA); Amoche v. Guarantee Tr. Life Ins. Co., 556 F.3d 41, 53

(1st Cir. 2009) (“Successive attempts at removal are permissible where the grounds for removal

become apparent only later in the litigation.”); Fed. Deposit Ins. Corp. v. Santiago, 598 F.2d 634,

636 (1st Cir. 1979) (“[A] defendant who fails in an attempt to remove on the initial pleadings can

file a removal petition when subsequent pleadings or events reveal a [n]ew and [d]ifferent ground

for removal.”); Baker v. Equity Residential Mgmt., L.L.C., No. 18-11175-PBS, 2018 WL 3637501,

at *1 (D. Mass. July 31, 2018) (denying motion to remand defendant’s second removal under

CAFA after case was initially remanded on the grounds that defendant had not demonstrated that

the amount in controversy exceeded $5 million); Arrigo v. Scholarship Storage, Inc., No. 10-

11650-MLW, 2011 WL 3584715, at *6 (D. Mass. Aug. 10, 2011) (“Where ‘subsequent pleadings,

conduct by the parties, or various other circumstances bring a case that previously was not

removable within the jurisdiction of the federal courts, a timely second notice of removal is

permissible and may succeed.’” (quoting 14C Charles A. Wright, et al., Federal Practice &

Procedure § 3739 (4th ed. 2009))); see also Sloan v. Soul Circus, Inc., No. 15-01389 (RC), 2015

WL 9272838, at *5 n.5 (D.D.C. Dec. 18, 2015) (“‘[U]nder CAFA, class actions may be removed

at any point during the pendency of the litigation in state court, so long as removal is initiated

within thirty days after the defendant is put on notice that a case which was not removable based

on the face of the complaint has become removable’”) (quoting Dudley v. Eli Lilly & Co.,

778 F.3d 909, 14-17 (11th Cir. 2014)); 28 U.S.C. §1446(b)(3) (“[I]f the case stated by the initial

pleading is not removable, a notice of removal may be filed within thirty days after receipt by the

defendant . . . of a copy of an amended pleading, motion, order or other paper from which it may

first be ascertained that the case is one which is or has become removable.”), §1446(c)(3)(A).




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II.      FACTUAL BACKGROUND

         5.       This lawsuit is a civil action within the meaning of the Acts of Congress relating to

the removal of class actions. See 28 U.S.C. § 1453.

         6.       The earliest date on which Plaintiff served a copy of the Complaint on either

Defendant was September 29, 2017.

         7.       Plaintiff purports to bring and maintain this action as a class action under Mass. R.

Civ. P. 23 and Mass. Gen. Laws ch. 149 § 150. Compl. ¶ 2, p. 5.

         8.       Plaintiff seeks to represent and certify the following class: “[I]ndividuals who have

worked as delivery drivers for [Defendants] in the Commonwealth of Massachusetts and have been

classified as independent contractors.” Compl. ¶ 1.1

         9.       Plaintiff seeks to recover “all damages due to the Plaintiff and other class members

because of their misclassification as independent contractors and related wage law violations,”

including unpaid wages and unreimbursed business expenses, statutory trebling of damages,

attorneys’ fees and costs and injunctive relief for claims allegedly arising from Defendants’

purported misclassification of putative class members under the Massachusetts Independent

Contractor Law, Mass. Gen. Laws ch. 149 § 148B; Defendants’ purported failure to reimburse

class members’ business expenses under Mass. Gen. Laws ch. 149 §§ 148, 150; and purported

failure to pay class members all wages owed and the Massachusetts minimum wage under Mass.

Gen. Laws ch. 149 § 150 and Mass. Gen. Laws ch. 151 §§ 1, 7. See generally Compl. Therefore,

for the purposes of this Notice of Removal, this matter is a class action as that term is defined

pursuant to 28 U.S.C. §§ 1332(d)(1)(B) and 1453.




1
 Defendants do not concede, and reserve the right to contest, inter alia, Plaintiff’s allegation that this lawsuit may
properly proceed as a class action. Amazon also reserves its right to compel arbitration of Plaintiff’s claims.


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III.   REMOVAL IS PROCEDURALLY PROPER.

       10.     Amazon timely filed its first notice of removal on October 29, 2017. Looking only

at the circumstances that existed as of that date, this Court held that the amount in controversy was

insufficient to establish jurisdiction under CAFA. The Court based that holding on its adoption of

the lodestar, rather than the common fund, method of calculating the attorneys’ fees at issue. This

Court entered an order remanding the case to state court on August 28, 2018. Amazon now timely

files this notice of removal. The circumstances have changed significantly since the prior notice

of removal. Those circumstances and/or this Court’s order now make clear that CAFA’s amount-

in-controversy requirement is satisfied without regard to the calculation of attorneys’ fees and

make possible the removal of this civil action. Thus, under the framework set forth in this Court’s

remand decision and CAFA, the amount-in-controversy requirement is satisfied and removal is

proper. See 28 U.S.C. §§ 1441(a), 1446(b, c); see also Sections IV & V infra.

IV.    THIS COURT HAS JURISDICTION UNDER THE CLASS ACTION FAIRNESS
       ACT OF 2005.

       11.     The Supreme Court recently clarified that “no antiremoval presumption attends

cases invoking CAFA, which Congress enacted to facilitate adjudication of certain class actions

in federal court.” Dart Cherokee Basin Operating Co. v. Owens, 135 S. Ct. 547, 554 (2014).

       12.     This Court has jurisdiction over this matter pursuant to CAFA. See 28 U.S.C. §§

1332(d), 1453. Under CAFA, District Courts have original diversity jurisdiction over a class

action whenever: (1) “any member of a [putative] class of plaintiffs is a citizen of a State different

from any defendant,” (28 U.S.C. § 1332(d)(2)(A)); (2) “the number of members of all proposed

plaintiff classes in the aggregate is” more than 100 (28 U.S.C. § 1332(d)(5)(B)); and (3) “the matter

in controversy exceeds the sum or value of $5,000,000, exclusive of interest and costs” (28 U.S.C.

§ 1332(d)(2)). All CAFA requirements are satisfied in this case. Further, no exception to the



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exercise of federal jurisdiction applies. See, e.g., U.S.C. § 1332(d)(4)(A)-(B). Therefore, removal

is proper pursuant to 28 U.S.C. §§ 1441, 1446, and 1453.

               A.      Diversity of Citizenship Exists.

       13.     To satisfy CAFA’s diversity requirement, a party seeking removal need only show

that minimal diversity exists—that is, that one putative class member is a citizen of a state different

from that of one defendant. 28 U.S.C. § 1332(d)(2); Lenahan v. Dick’s Sporting Goods, Inc., No.

10-11832-RGS, 2010 WL 5092254, at *1 (D. Mass. Dec. 8, 2010).

                           1. Plaintiff is a citizen of Massachusetts.

       14.     Plaintiff Bernard Waithaka was at the time of the commencement of this action a

resident and citizen of the Commonwealth of Massachusetts. Compl. ¶ 3.

                           2. Neither Defendant is a citizen of Massachusetts.

       15.     Defendant Amazon.com, Inc. was at the time of the commencement of this action,

and is now, a Delaware corporation, headquartered in Seattle, Washington. Compl. ¶ 4.

       16.     Defendant Amazon Logistics, Inc. was at the time of the commencement of this

action, and is now, a Delaware corporation, headquartered in Seattle, Washington. Compl. ¶ 5.

       17.     As a result, Defendants are now, and were at the time of the filing of this action,

citizens and/or residents of the State of Washington and Delaware within the meaning of the Acts

of Congress relating to the removal of class actions. See McCarthy v. Bank of N.Y./Mellon, No.

10-10486-GAO, 2010 WL 2144241, at *1 (D. Mass. May 27, 2010) (citing Hertz Corp. v. Friend,

559 U.S. 77, 92 (2010)). Thus, Defendants are citizens of Washington and Delaware for diversity

purposes under CAFA. See 28 U.S.C. § 1332(d)(10).

       18.     Accordingly, there is diversity of citizenship pursuant to CAFA because a member

of the putative class “is a citizen of a State different from any defendant.” 28 U.S.C. § 1332(d)(2).




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                  B.       The Proposed Class Consists of At Least 100 Proposed Class
                           Members.

         19.      The second jurisdictional requirement under CAFA is that the number of members

of all proposed plaintiff classes in the aggregate is more than 100. See 28 U.S.C. § 1332(d)(5)(B).

         20.      The Complaint alleges claims on behalf of Plaintiff and a putative class of similarly

situated individuals in Massachusetts. Compl. ¶ 1.

         21.      During the Class Period (as defined below), over 100 individuals, including

Plaintiff, performed delivery services for Amazon in the Commonwealth of Massachusetts and

were classified as independent contractors. See Nickerson Decl. ¶¶ 7-8. As the number of

members of the proposed putative class exceeds 100, the second jurisdictional requirement under

CAFA is met. See 28 U.S.C. § 1332(d)(5)(B).

                  C.       The Amount In Controversy Requirement Is Satisfied2

         22.      As the Supreme Court has held, “a defendant’s notice of removal need include only

a plausible allegation that the amount in controversy exceeds the jurisdictional threshold.” Dart

Cherokee, 135 S. Ct. at 554.

         23.      CAFA provides for the aggregation of the claims of the individual members in a

class action to determine if the amount in controversy exceeds the sum or value of $5 million,

exclusive of interests and costs. See 28 U.S.C. § 1332(d)(6).

         24.      In addition, Congress intended for federal jurisdiction to attach under CAFA “if the

value of the matter in litigation exceeds $5,000,000 either from the viewpoint of the plaintiff or


2
  This Notice of Removal discusses the nature and amount of damages placed at issue by Plaintiff’s Complaint.
Defendants’ reference to specific damages amounts and their citation to comparable cases are provided solely for the
purpose of establishing that the amount in controversy is more likely than not in excess of the jurisdictional minimum.
Defendants maintain that each of Plaintiff’s claims is without merit and that Defendants are not liable to Plaintiff or
the putative class he claims to represent. Defendants specifically deny that Plaintiff has suffered any damage as a
result of any act or omission by Defendants. No statement or reference contained herein shall constitute an admission
of liability or a suggestion that Plaintiff will or could actually recover these damages based upon the allegations
contained in the Complaint or otherwise.


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the viewpoint of the defendant, and regardless of the type of relief sought (e.g., damages, injunctive

relief, or declaratory relief).” S. Rep. No. 109-14, as reprinted in 2005 WL 627977, at *42 (1st

Sess. 2005).

       25.     Where, as here, the plaintiff does not expressly plead a specific amount of damages,

a defendant must only show a reasonable probability that the amount in controversy exceeds $5

million. See Sierra v. Progressive Direct Ins. Co., No. 12–30020–FDS, 2012 WL 4572923, at *2

(D. Mass. Sept. 28, 2012). Plaintiff’s likelihood of success on the merits is irrelevant to

determining the court’s jurisdiction because “the pertinent question is what is in controversy in the

case, not how much the plaintiffs are ultimately likely to recover.” Manson v. GMAC Mortg., LLC,

602 F. Supp. 2d 289, 293 n.6 (D. Mass. 2009) (quoting Amoche, 556 F.3d at 51). Because

“questions of removal are typically decided at the pleadings stage where little or no evidence has

yet been produced, the issue should be resolved without an extensive fact-finding inquiry or ‘mini-

trial’ about the amount in controversy.” Sierra, 2012 WL 4572923, at *2 (internal citations

omitted). In determining whether the removing defendant has met its burden, courts look first to

the plaintiff’s complaint and then to the defendant’s petition for removal. See Williams v. Am.

Honda Fin. Corp., No. 14-12859-LTS, 2014 WL 5494914, at *3 (D. Mass. Oct. 30, 2014).

       26.      “In calculating the amount in controversy, a federal court must examine relevant

state law to determine the nature and extent of the damages which may be awarded.” Lucas v.

Ultima Framingham LLC, 973 F. Supp. 2d 98, 101 (D. Mass. 2013) (citing Stewart v. Tupperware

Corp., 356 F.3d 335, 339 (1st Cir. 2004)). Thus, where the statute at issue includes both a damage

multiplier and the awarding of attorneys’ fees, the “court must apply [those] factor[s] in evaluating

the amount in controversy.” Id. (internal citations omitted).

       27.     Further, CAFA’s legislative history makes clear that doubts regarding the




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maintenance of class actions in state or federal court should be resolved in favor of federal

jurisdiction. See, e.g., S. Rep. No. 109-14, as reprinted in 2005 WL 627977, at *43 (1st Sess.

2005) (“Overall, new section 1332(d) is intended to expand substantially federal court jurisdiction

over class actions. Its provisions should be read broadly, with a strong preference that interstate

class actions should be heard in a federal court if properly removed by any defendant.”).

       28.     While Amazon denies Plaintiff’s claims and denies that Plaintiff or the putative

class members he purports to represent are entitled to the relief for which he has prayed, it is clear

that, when the potential values of the claims of Plaintiff and the putative class members are

aggregated, the allegations within the Complaint “more likely than not” put into controversy an

amount in excess of $5 million.

               1.      Information Relevant to Amounts at Issue.

       29.     Plaintiff’s Complaint does not define the class period, but the statute of limitations

for Plaintiff’s claims stemming from his alleged misclassification as an independent contractor is

three years. See Mass. Gen. Laws ch. 149, § 150.

       30.     Plaintiff filed the Complaint on or around August 28, 2017. Thus, the class period

for purposes of establishing jurisdiction under CAFA would be August 28, 2014 through the

conclusion of this action (the “Class Period”).

       31.     According to Amazon’s data, over 8,000 putative class members have driven, in

the aggregate, over 9,200,000 miles to deliver packages to Amazon customers through August 26,

2018. See Nickerson Decl. ¶¶ 8, 12. The number of aggregate miles driven by putative class

members as of the date of this Notice of Removal is over six times larger than in October 2017,

when the prior notice of removal was filed. See id. ¶¶ 11-12.

       32.     The Complaint alleges that Plaintiff used the applicable Internal Revenue Service




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(IRS) reimbursement rate to calculate alleged unreimbursed vehicle expenses. Compl. ¶ 10. In

2017, the IRS rate was $0.535 per mile. See IRS Standard Mileage Rates, http://www.irs.gov/Tax-

Professionals/Standard-Mileage-Rates (last visited Sept. 7, 2018), attached hereto as Exhibit B. In

2016, the IRS rate was $0.54 per mile. Id.

         33.      On January 1, 2018, the IRS rate increased to $0.545 per mile. Id.

         34.      Through August 26, 2018, the putative class members have contracted to provide

delivery services for more than 840,000 block hours. See Nickerson Decl. ¶ 10.3 The number of

aggregate block hours in which members of the putative class contracted to provide delivery

services is over three times larger than in October 2017. See id. ¶¶ 9-10.

         35.      Massachusetts’ minimum wage has been $11.00 per hour since January 1, 2017.

See Mass. Gen. Laws ch. 151, § 1. Massachusetts’ minimum wage was $10.00 per hour from

January 1, 2016 through December 31, 2016. Id.

                  2.       Calculation of Plaintiff’s Claimed Damages.

         36.      The Complaint alleges that because Plaintiff and the other putative class members

were classified as independent contractors rather than as employees, they have incurred

unreimbursed expenses for, among other things, maintaining their vehicles, gas, phone, phone

data, and other expenses. Compl. ¶ 9.

         37.      The Complaint alleges that Plaintiff used the applicable IRS reimbursement rate to

calculate alleged unreimbursed expenses for operating a vehicle. Compl. ¶ 10.

         38.      For purposes of this Notice of Removal only, Amazon’s calculations assume that


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  Amazon pays Service Fees per block that vary depending on circumstances, including geography and whether
“surge” pricing is in effect because of weather or special events increasing demand. Declaration of Kyle Bowers
(“Bowers Decl.”), ¶ 6. Amazon generally pays Service Fees per block that roughly equate to a rate of between $18
and $25 per hour, multiplied accordingly by the anticipated duration of block (e.g., a “two-hour” block would receive
at least $36). Id. at ¶ 7. Delivery blocks run as short as one hour and may exceed four hours. In the event Plaintiff
completed a “block” of deliveries in less time than estimated, he would still be paid for the full block. Id. at ¶ 8.



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putative class members incurred vehicle expenses based on the IRS reimbursement rate of $0.54

for delivery services in 2016, $0.535 for delivery services in 2017, and $0.545 for delivery services

in 2018. Based on delivery addresses, the estimated mileage for the putative class now exceeds

9,200,000. See Nickerson Decl. ¶ 12. Under these assumptions, the total unpaid mileage expenses

for the putative class would exceed $4,900,000. Id. ¶ 14. When trebled under Mass. Gen. Laws

ch. 149, § 150, the amount in controversy with respect to alleged unpaid mileage expenditures

significantly exceeds $14,700,000 ($4,900,000 trebled totals $14,700,000). See Lucas, 973 F.

Supp. 2d at 101 (recognizing that Court should include multiple damages in calculating amount in

controversy); see also Compl. at p. 5 (requesting treble damages). This amount alone, the

calculation of which Plaintiff does not dispute, satisfies the amount in controversy under

CAFA.

        39.      During the Class Period, Amazon’s U.S.-based employees have been eligible to

receive $50 per month as reimbursement for cell phone expenses.4 See Declaration of Elizabeth

M. Bresnahan, Ex. 1. For purposes of this Notice of Removal only, Amazon’s calculations

assume the following rate of reimbursement for any month in which a putative class member

contracted and received Service Fees for a block: $50 per month for any month in which a class

member contracted for more than 80 block hours; $25 per month for any month in which a class

member contracted for more than 40 block hours; $12.50 per month for any month in which a

class member contracted for up to 40 block hours. See Nickerson Decl. ¶ 16. These are

conservative assumptions because Amazon’s policy for reimbursing U.S.-based employees for

cell phone expenses does not cap the reimbursement amount based on the number of hours



4
 Reference to this policy is for purposes of calculating the amount in controversy only and shall not constitute an
admission that the policy applies to Plaintiff or any members of the putative class.



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worked per month. Indeed, this Court accepted Amazon’s alternative (and higher) calculation of

cell phone data reimbursement, finding “calculations based on established company policy will

suffice in the absence of extensive fact finding.” Waithaka, Dkt. No. 29 at p. 3 (citing Spielman

v. Genzyme Corp., 251 F.3d 1, 4-5 (1st Cir. 2001) (holding a determination of removal should be

done “quickly, without an extensive fact-finding inquiry.”)).

         40.      There are over 25,000 aggregate work months in the Class Period through August

26, 2018. See Nickerson Decl. ¶ 8. The number of aggregate work months is over three times

larger than in October 2017. See id. ¶¶ 7-8.

         41.      Applying the assumptions above in Paragraphs 39 and 40 with respect to

reimbursement of cell phone data, the amount placed at issue by Plaintiff relating to the putative

class members’ unpaid phone data expenses exceeds $475,000. See Nickerson Decl. ¶ 17. When

trebled under Mass. Gen. Laws ch. 149, § 150, the amount in controversy as to alleged unpaid

phone data expenses exceeds $1,425,000 (over $475,000 trebled totals $1,425,000).

         42.      Plaintiff also alleges that Amazon violated the Wage Act, Mass. Gen. Laws ch. 151,

§§ 1,7 by failing to pay Plaintiff and other drivers the minimum wage of $11.00 required under

Massachusetts law. See Compl. ¶ 2. Plaintiff specifically alleges that he earned nearly three

dollars less than the minimum wage “after subtracting mileage at the standard IRS reimbursement

rate.” Id. at ¶ 10. 5

         43.      The putative class members have performed delivery services for more than

840,000 hours. See Nickerson Decl. ¶ 10. Under these assumptions, the amount placed at issue

by Plaintiff relating to the putative class members’ claims for unpaid minimum wage damages



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  Plaintiff’s allegations concerning damages related to tips, Compl. ¶ 10, does not change this analysis. While Amazon
is not aware of tips received by Plaintiff, any damages associated with alleged tips would increase the amount in
controversy at issue.


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exceeds $410,000 based on delivery data. See id. ¶ 20. When trebled under Mass. Gen. Laws ch.

151, § 20, the amount in controversy as to the putative class members’ alleged unpaid minimum

wage damages exceeds $1,230,000.

       44.     Plaintiff also alleges Amazon violated the Wage Act, Mass. Gen. Laws ch. 151, §§

1,7 by not paying Plaintiff and the putative class members for all hours worked between the end

of their scheduled shifts and their last delivery (i.e., alleged unpaid wages). See, e.g., Compl. ¶¶

2, 11 (alleging that “it often takes drivers more time to complete their scheduled shifts, but drivers

do not receive additional compensation for this extra time”), ¶ 12 (“Not only is this unpaid time a

violation of Massachusetts state law, but this unpaid time also further pushes the drivers’ wages

below minimum wage.”).

       45.     The estimated amount of alleged unpaid wages is over $585,000 for the putative

class members based on delivery data. See Nickerson Decl. ¶ 22. When trebled under Mass. Gen.

Laws ch. 151, § 20, the amount in controversy as to Plaintiff’s alleged unpaid wage claims on

behalf of the putative class exceeds $1,755,000.       This amount is in addition to the amounts

described in Paragraph 43 regarding alleged minimum wage damages.

       46.     Thus, the total amount placed in controversy by Plaintiff’s claims on behalf of the

putative class, not including attorneys’ fees, exceeds $19,110,000.

               3.      Attorneys’ Fees in Controversy

       47.     Where the statute provides for the recovery of attorneys’ fees, such fees must be

considered in calculating the amount in controversy. See Lucas, 973 F. Supp. 2d at 101; see also

Compl. at p. 5 (requesting attorneys’ fees).

       48.     Courts have routinely used the common fund method to determine the amount in

controversy for purposes of removal under CAFA. See Pazol v. Tough Mudder Inc., 819 F.3d 548,




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553 (1st Cir. 2016) (adopting estimate of 33% attorneys’ fees for purposes of determining amount

in controversy under CAFA); Fields v. Sony Corp. of Am., No. 13-6520, 2014 WL 3877431, at *2

(S.D.N.Y. Aug. 4, 2014) (in wage and hour case: “Applying [one-third] attorneys’ fees to the

approximately $4.2 million at issue in this case brings the total amount in controversy to as much

as $5.6 million, satisfying the required jurisdictional amount under CAFA”); DiPonzio v. Bank of

Am. Corp., No. 11-CV-06192, 2011 WL 2693912, at *3 (W.D.N.Y. July 11, 2011) (“[F]or the

limited purpose of determining the amount in controversy, attorneys’ fees will be estimated to be

33% of the total damages otherwise contemplated.”).

       49.     Plaintiff’s counsel, in a case also brought pursuant to Mass. Gen. Laws ch. 149, §

150, received thirty-three percent of a court-approved settlement to account for her fees and

expenses (an award totaling $1,666,666). See Order Approving Settlement (ECF No. 57),

Crenshaw v. Texas Roadhouse, Inc. et al., No. 1:11–cv–10549–JLT (D. Mass. Sept. 6, 2012);

Plaintiffs’ Assented-to Motion for Final Approval of Class Action Settlement (ECF No. 53-3),

Crenshaw v. Texas Roadhouse, Inc. et al., No. 1:11–cv–10549–JLT (D. Mass. Sept. 4, 2012). It

is reasonable to conclude that Plaintiff’s counsel will seek a similar recovery in this case. See

Plaintiff’s Assented-to Motion for Final Approval of Class Action Settlement (ECF No. 72),

Sheehan et al. v. RCN Telecom Servs., Inc., No. 1:16-cv-10509-DPW (D. Mass. Oct. 20, 2017)

(requesting attorneys’ fees for Plaintiff’s counsel valued at thirty-three percent of class settlement

in independent contractor classification litigation). Even an attorneys’ fees award of twenty-five

percent would add over $4,777,500 million to the amount in controversy.

       50.     Amazon acknowledges that the Court relied on the lodestar method to determine

the attorneys’ fees in controversy in deciding Amazon’s initial Notice of Removal. Waithaka, Dkt.

No. 29-30. For the reasons Amazon set forth in its opposition to Plaintiff’s motion to remand,




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Amazon believes that $1,000,000 is a reasonable estimate of the attorneys’ fees in controversy

under the lodestar method. See Dkt No. 13. However, even if the Court were to apply a lesser

amount of attorneys’ fees to calculate the amount in controversy, the Court would still retain

jurisdiction over this case because, as of the date of this Notice of Removal, the amount in

controversy is over $5 million even if no attorneys’ fees are included.

                  D.       Summary of Amount in Controversy

         51.      Based on the categories of damages and calculations outlined above, the amount

placed in controversy by the class allegations in Plaintiff’s Complaint, exclusive of attorneys’ fees,

easily exceeds $5 million, as follows:

                  Vehicle Expenses              at least $14,700,000

                   Phone Expenses               at least $1,425,000

                   Minimum Wage
                                                at least $1,230,000
                      Damages

               Unpaid Wage Damages              at least $1,755,000

                        TOTAL:                  at least $19,110,000


         52.      If Amazon were to apply less conservative assumptions, the amount in controversy

would increase substantially.6



6
  Amazon’s estimated amount in controversy does not account for future amounts that would continue to accrue over
the lifespan of this large class action litigation. “Though the amount in controversy in a case removed to federal court
depends on the circumstances existing at the time of removal . . . the calculation includes monies not yet due the
plaintiff at that point—so long as the ‘judgment will clearly and finally create an obligation to pay, over a number of
years, a sum in excess of the jurisdictional amount, even though future events may alter or cut off the defendant’s
obligation.’” Williams v. Toys “R” Us – Delaware, Inc., No. CV 15-13943-MLW, 2016 WL 5723588, at *2 (D. Mass.
Sept. 28, 2016) (quoting 14B Charles Alan Wright, Arthur R. Miller, Edward H. Cooper, Federal Practice &
Procedure § 3702, at 87 (3d ed. 1998)) (citations omitted). Here, each of the categories of monetary damages alleged
in the Complaint would run through the date of a final judgment in Plaintiff’s favor. See Costello v. Whole Foods
Mkt. Grp., Inc., No. 16-10673-GAO (D. Mass. 2016) (ECF. No. 34) (“[T]he amount in controversy includes all back
pay due . . . through the date of final judgment.”).



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       53.     Although Amazon expressly denies Plaintiff’s allegations and theories of recovery,

and expressly denies that Plaintiff or the putative class he purports to represent are entitled to any

of the requested relief, the amount in controversy clearly exceeds the $5 million threshold set forth

under 28 U.S.C. § 1332(d)(2).

               E.      No Exceptions to CAFA Jurisdiction Apply.

       54.     CAFA provides for two primary exceptions to the exercise of federal jurisdiction,

the so-called “home-state” and “local controversy” exceptions. See 28 U.S.C. § 1332(d)(3)(A)-

(B). Plaintiff bears the burden of proof as to the applicability of these exceptions. McMorris v.

TJX Cos., 493 F. Supp. 2d 158, 165 (D. Mass. 2007); cf. S. Rep. No. 109-14, as reprinted in

2005 WL 627977, at *42 (1st Sess. 2005) (exceptions to CAFA jurisdiction should be interpreted

narrowly and doubts should be resolved “in favor of exercising jurisdiction over the matter”).

Plaintiff cannot meet his burden of proving that either exception applies because neither

Defendant is a citizen of Massachusetts. Waithaka, Dkt. No. 29 at p. 2 n. 1 (“It is not disputed

that the case meets other requirements under CAFA….”).

V.     THE OTHER PREREQUISITES FOR REMOVAL HAVE BEEN SATISFIED

       55.     Defendants timely, and in good faith, filed their initial notice of removal on October

29, 2017. Amoche, 556 F.3d at 53 (finding defendant’s removal “at the earliest possible date was

understandable, given the removal statute's requirement that a defendant file a notice of removal

within thirty days of his receipt of the first removable document.”).

       56.     The notice of removal effected this Court’s jurisdiction and divested the state court

of jurisdiction. 28 U.S.C. § 1446(d). Thereafter, until August 28, 2018, removal was neither

necessary (this Court had jurisdiction over the case) nor possible (this case was not pending in

state court). Id.; see also § 1441(a).

       57.     On August 28, 2018, this Court held that this case was not initially removable solely


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because the amount in controversy requirement had not been met as of October 29th. Dkt No. 29

at p. 7 (citing Amoche, supra at 51). However, the “remand order does not permanently foreclose

[Amazon] from attempting to remove this case to federal court. … [T]he text of the removal statute

itself contemplates that a case that was not initially removable may later be removed if the basis

for removal becomes apparent through a subsequent “amended pleading, motion, order or other

paper.” Amoche, supra at 53 (citing 28 U.S.C. § 1446(b)). “[E]specially now that class actions

under CAFA are exempt from the removal statute's one-year time limit.” Id. (citing 28 U.S.C.

§1453(b)).

       58.     This second Notice of Removal is filed within thirty (30) days after Amazon’s

receipt of the August 28, 2018 order from which it could “first be ascertained that the case is one

which is or has become removable.” 28 U.S.C. §1446(b)(3); Amoche, supra at 53; see also 28

U.S.C. §1446(c)(3)(A); accord Romulus, 770 F.3d at 74 & n. 5. Accordingly, this Notice of

Removal is timely under 28 U.S.C. § 1446(b) (establishing a 30-day period for removal).

       59.     Moreover, precedent establishes the right of the defendant to file a notice of

removal based on changed circumstances and its own investigation showing that the requisite

amount in controversy is satisfied. See, e.g., Roth v. CHA Hollywood Med. Ctr., L.P., 720 F.3d

1121, 1125 (9th Cir. 2013) (“We conclude that §§ 1441 and 1446, read together, permit a defendant

to remove outside the two thirty-day periods on the basis of its own information, provided that it

has not run afoul of either of the thirty-day deadlines.”); Cutrone v. Mortg. Elec. Registration Sys.,

Inc., 749 F.3d 137, 147 (2d Cir. 2014) (“We agree with the Ninth Circuit that the text of 28 U.S.C.

§ 1446(b) does not indicate that the two 30-day periods listed therein are the exclusive

authorization of removal. . . . Defendants are permitted to remove outside of these periods when

the time limits of 28 U.S.C. § 1446(b) are not triggered.” (citation omitted)); Paros Props. LLC v.




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Colo. Cas. Ins. Co., 835 F.3d 1264, 1271 n.5 (10th Cir. 2016) (“[A] defendant need not await . . .

notice before filing a notice of removal. Once it reasonably believes that the jurisdictional

prerequisites have been satisfied, it can properly seek removal.”); Walker v. Trailer Transit, Inc.,

727 F.3d 819, 825-26 (7th Cir. 2013) (observing that the defendant’s removal of litigation to

federal court based on its “estimate” of damages was proper where neither of the 30-day periods

under Section 1446(b) had begun to run); accord Williams, 2014 WL 5494914, at *3 n.4

(discussing the holdings in Roth, Cutrone, and Walker, and observing that “[t]he reasoning applied

by those Courts of Appeals is persuasive”). This Notice thus fits squarely within both the plain

terms of 28 U.S.C. §§ 1441(a) and 1446(b)(3), and precedent establishing that the defendant may,

on the basis of its own investigation and determination, remove whenever it can demonstrate that

the minimum amount in controversy has been met.

       60.     As Plaintiff originally filed this action in the Worcester County Superior Court of

Massachusetts, removal to the United States District Court, District of Massachusetts, is proper

under 28 U.S.C. § 1441(a).

       61.     As required by 28 U.S.C. § 1446(d), Defendants will provide notice of this removal

to Plaintiff through his attorneys of record.

       62.     As required by 28 U.S.C. § 1446(d), a copy of this Notice will be filed with the

Clerk of the Court for the Worcester County Superior Court of Massachusetts.

       63.     If any questions arise as to the propriety of the removal of this action, Defendants

request the opportunity to present a brief in support of its position that this case is removable and

that CAFA’s limited exceptions to federal jurisdiction are inapplicable.




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       WHEREFORE, Defendants Amazon.com, Inc. and Amazon Logistics, Inc., desiring to

remove this case to the United States District Court for the District of Massachusetts, prays that

the filing of this Notice of Removal shall effect the removal of this action to this Court.



                                                  Respectfully submitted,

                                                  AMAZON.COM, INC. and
                                                  AMAZON LOGISTICS, INC.,
                                                  By their attorneys,

                                                  /s/ Elizabeth M. Bresnahan
                                                  Douglas T. Schwarz, BBO# 548558
                                                    douglas.schwarz@morganlewis.com
                                                  Elizabeth M. Bresnahan, BBO# 672577
                                                    elizabeth.bresnahan@morganlewis.com
                                                  MORGAN, LEWIS & BOCKIUS LLP
                                                  One Federal Street
                                                  Boston, MA 02110
                                                  Tel. (617) 951-8000
  Dated: September 7, 2018




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                               CERTIFICATE OF SERVICE

       I hereby certify that on September 7, 2018, the foregoing document was filed through the
ECF system and sent electronically to the registered participants as identified on the Notice of
Electronic Filing (NEF). A paper copy also will be served by first class mail to:

                                  Shannon Liss-Riordan, Esq.
                                    Adelaide Pagano, Esq.
                              LICHTEN & LISS-RIORDAN, P.C.
                                729 Boylston Street, Suite 2000
                                      Boston, MA 02116
                                     Tel. (617) 994-5800



                                                                    s/ Elizabeth M. Bresnahan
                                                                    Elizabeth M. Bresnahan




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